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Fill in this information to identify your case:                                                                       For amended plans only:
                                                                                                                           Check if this amended plan is filed prior to
IN THE UNITED STATES BANKRUPTCY COURT                                                                                      any confirmation hearing.

FOR THE EASTERN DISTRICT OF TEXAS                                                                                            Check if this amended plan is filed in
                                                                                                                             response to an initial denial order or a
                                                                                                                             continuance that counted as an initial
Debtor 1              Jason                      Christopher               Warren
                                                                                                                             denial.
                      First Name                 Middle Name               Last Name
                                                                                                                    List the sections which have been changed by
Debtor 2
                                                                                                                    this amended plan:
(filing spouse)       First Name                 Middle Name               Last Name
                                                                                                                    2.2, 2.6, 3.5, 3.6, 4.6, and 5.3
Case number:          20-41957




TXEB Local Form 3015-a
                                                               CHAPTER 13 PLAN
                                                                                                                                                            Adopted: Dec 2017

Part 1:         Notices
To Debtor*:         This plan form is designed for use when seeking an initial confirmation order. It sets out options that may be appropriate in
                    some cases, but the presence of an option on the form does not indicate that the option is appropriate in your
                    circumstances. When you file this Plan, you must serve a copy of it upon each party listed on the master mailing
                    list (matrix) of creditors as constituted by the Court on the date of service and evidence that service through
                    a Certificate of Service affixed to this document that attaches a copy of the matrix of creditors which you
                    served. The most current matrix in this case is available under the "Reports" tab of the CM-ECF system.

* The use of the singular term "Debtor" in this Plan includes both debtors when the case has been initiated by the filing of a joint petition by spouses.

To Creditors:       Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                    You should read this Plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                    have an attorney, you may wish to consult one.

                    If you oppose any permanent treatment of your claim as outlined in this plan, you or your attorney must file an objection to
                    confirmation of this Plan. An objection to confirmation must be filed at least 14 days before the date set for the plan
                    confirmation hearing. That date is listed in ¶ 9 of the Notice of Chapter 13 Bankruptcy Case issued in this case. The
                    objection period may be extended to 7 days prior to the confirmation hearing under the circumstances specified in LBR
                    3015(f). In any event, the Court may confirm this plan without further notice if no objection to confirmation is timely filed.

                    Regardless of whether you are listed in the Debtor's matrix of creditors or in the Debtor's schedules, you must timely file
                    a proof of claim in order to be paid under this Plan. The deadline for filing claims is listed in ¶ 8 of the Notice of Chapter 13
                    Bankruptcy Case issued in this case. Disbursements on allowed claims will begin on the Trustee's next scheduled
                    distribution date after the Effective Date of the Plan. See § 9.1.

                    The Debtor must check on box on each line to state whether or not the plan includes each of the following
                    items. If an item is checked as "Not Included" or if both boxes are checked, the provision will be ineffective if
                    set out later in the Plan.

1.1     A limit on the amount of an allowed secured claim through a final determination of                                              Included               Not included
        the value of property constituting collateral for such claim, as set forth in § 3.10 of
        this Plan, which may result in a partial payment or no payment at all to the secured
        creditor.

1.2     Avoidance of a judicial lien or a nonpossessory, nonpurchase-money security                                                     Included               Not included
        interest, as set forth in § 3.9 of this Plan.

1.3     Potential termination and removal of lien based upon alleged unsecured status of                                                Included               Not included
        claim of lienholder, as set forth in § 3.11 of this Plan.

1.4     Nonstandard provisions as set forth in Part 8.                                                                                  Included               Not included
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Debtor     Jason Christopher Warren                                                                                     Case number 20-41957



 Part 2:           Plan Payments and Length of Plan

 2.1     The applicable commitment period for the Debtor is                           60          months.


 2.2     Payment Schedule.

         Unless the Court orders otherwise, beginning on the 30th day after the Petition Date* or the entry date of any order converting this
         case to Chapter 13, whichever is later, the Debtor will make regular payments to the Trustee throughout the applicable commitment
         period and for such additional time as may be necessary to make the payments to claimants specified in Parts 3 through 5 of this Plan
         (the "Plan Term" ). The payment schedule shall consist of:
         * The use of the term "Petition Date" in this Plan refers to the date that the Debtor filed the voluntary petition in this case.

               Constant Payments:              The Debtor will pay                                  per month for                           months.

               Variable Payments:      The Debtor will make variable plan payments throughout the Plan Term. The proposed schedule for such
               variable payments are set forth in Exhibit A to this Order and are incorporated herein for all purposes.


 2.3     Mode of Payment.             Regular payments to the Trustee will be made from future income in the following manner:

         [Check one]

               Debtor will make payments pursuant to a wage withholding order directed to an employer.

               Debtor will make electronic payments through the Trustee's authorized online payment system.

               Debtor will make payments by money order or cashier's check upon written authority of the Trustee.

               Debtor will make payments by other direct means only as authorized by motion and separate court order.

 2.4     Income tax refunds.

         In addition to the regular monthly payments to the Trustee, and in the absence of a court order to the contrary, the Debtor is
         required to:

             (1)    supply a copy of each federal income tax return, including all supporting schedules, filed during the Plan Term to the
                    Trustee within 14 days of filing the return; and

             (2)    remit to the Trustee within 14 days of receipt all federal income tax refunds received by each Debtor during the plan term
                    which will be added to the plan base; provided, however, that the Debtor may retain from each such refund up to
                    $2,000.00 in the aggregate on an annual basis if the Debtor is current on the payment obligations to the Trustee under this
                    Plan at the time of the receipt of such tax refund.

         The Debtor hereby authorizes the Trustee to endorse any federal income tax refund check made payable to the Debtor during the
         plan term.


 2.5     Additional payments.             [Check one]

               None. If "None" is checked, the rest of § 2.5 need not be completed.


 2.6     Plan Base.

         The total amount due and owing to the Trustee under §§ 2.2 and 2.5 is        $49,950.00        which, when combined with any income
         tax refunds due to the Trustee under § 2.4, any litigation proceeds due to the Trustee under § 9.3, and any other funds received by the
         Trustee on the Debtor's behalf during the Plan Term, constitutes the "Plan Base."


 Part 3:           Treatment of Secured Claims
 3.1     Post-Petition Home Mortgage Payments. [Check one]

               No Home Mortgage. If "No Mortgage" is checked, the remainder of § 3.1 need not be completed.

               Home Mortgage Maturing Before or During Plan Term. If "Mortgage Maturing" is checked, the claim will be addressed in
               § 3.4. The remainder of § 3.1 need not be completed.


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             Direct Home Mortgage Payments by Debtor Required.

             On the Petition Date, the Debtor owed the following claims secured only by a security interest in real property that is the Debtor's
             principal residence. The listed monthly payment amount is correct as of the Petition Date. Such mortgage claims (other than
             related Cure Claims addressed in § 3.2), shall be paid directly by the Debtor in accordance with the pre-petition contract, including
             any rate changes or other modifications required by such documents and noticed in conformity with any applicable rules, as such
             payments become due during the Plan Term. The fulfillment of this requirement is critical to the Debtor's reorganization effort.
             Any failure by the Debtor to maintain payments to a mortgage creditor during the Plan Term may preclude
             confirmation of this Plan and, absent a subsequent surrender of the mortgage premises, may preclude the
             issuance of any discharge order to the Debtor under § 1328(a).* The Trustee will monitor the Debtor's fulfillment of this
             direct payment obligation ("DPO").

             *All statutory references contained in this Plan refer to the Bankruptcy Code, located in Title 11, United States Code.


              Mortgage Lienholder                                            Property Address                                 Monthly Payment    Due Date of
                                                                                                                              Amount by Debtor    Monthly
                                                                                                                                                  Payment

 1.                                                        502 Ashton Lane, Reno, TX 75462                                     $2,168.55
 Liberty Ntnl Bk In Paris                                                                                                                           13th
                                                                                                                        Amount inc:
                                                                                                                           Tax Escrow
                                                                                                                           Insurance Escrow
                                                                                                                           Other

 2.                                                        502 Ashton Lane, Reno, TX 75462                                      $332.28
 Liberty Ntnl Bk In Paris                                                                                                                           23rd
                                                                                                                        Amount inc:
                                                                                                                           Tax Escrow
                                                                                                                           Insurance Escrow
                                                                                                                           Other

 3.2     Curing Defaults and Maintenance of Direct Payment Obligations. [Check one]

             None. If "None" is checked, the remainder of § 3.2 need not be completed.

             Cure Claims. On the Petition Date, the Debtor was delinquent on payments to satisfy certain secured claims or upon obligations
             arising under an executory contract or an unexpired lease that the Debtor has elected to assume under § 6.1 of this Plan. While
             remaining current on all direct payment obligations (future installment payments) as each comes due under the applicable
             contractual documents during the plan term (a "DPO"), the Debtor shall cure all such delinquencies through the Plan as listed
             below (a "Cure Claim"). Each listed claims constitutes a separate class. The total amount of each allowed Cure Claim will be paid
             in full by the Trustee. The Trustee is authorized to initiate monthly payments on an interim basis based upon the projected amount
             of each Cure Claim listed below until such time as the allowed amount of each Cure Claim is established by the filing of a proof of
             claim in accordance with the Bankruptcy Rules. The amount listed in that proof of claim, or the final determination by the Court of
             any objection thereto, shall control over any projected Cure Claim amount listed below. No interest will be paid on any Cure Claim
             in the absence of documentary proof that the applicable contractual documents entitle the claimant to receive interest on unpaid
             interest.

             If the automatic stay is terminated as to the property for which a Cure Claim exists at any time during the Plan Term, the next
             distribution by the Trustee on such Cure Claim shall be escrowed pending any possible reconsideration of the stay termination. If
             the stay termination is reversed by agreement or by court order, then the single escrowed distribution shall be released to the
             holder of the Cure Claim and regular distributions on that Cure Claim shall be reinstituted. In the event that the stay termination
             remains in effect on the second distribution date after the stay termination, the escrowed funds shall be released for distribution
             to other classes under this Plan and the Cure Claim shall thereafter be addressed solely under applicable state law procedures
             and will no longer be treated by the Plan. The completion of payments contemplated in this subsection constitutes a cure of all
             defaults of the Debtor's obligation to each listed claimant.




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               Claimant                 Collateral/Property/Contract      Debtor's DPO     Projected         Plan      Projected       Projected Total
                                                Description                 Amount         Cure Claim      Interest     Monthly        Cure Payment
                                                                                            Amount           Rate     Payment by         by Trustee
                                                                                                                        Trustee

 1.
 Liberty Ntnl Bk In Paris              502 Ashton Lane, Reno,              $2,168.55       $22,801.89      0.00%       Pro-Rata         $22,801.89
                                       TX 75462

       Debt Maturing During Plan
       Term.
       Debt Maturing After
       Completion of Plan Term.
       Curing Assumed Executory
       Contract or Lease Obligation
       Pursuant to § 6.1.

 3.3      Secured Claims Protected from § 506 Bifurcation. [Check one]

               None. If "None" is checked, the remainder of § 3.3 need not be completed.


 3.4      Secured Claims Subject to § 506 Bifurcation.

          [Check one]

               None. If "None" is checked, the remainder of § 3.4 need not be completed.


 3.5      Direct Payment of Secured Claims Not in Default. [Check one]

               None. If "None" is checked, the remainder of § 3.5 need not be completed.

               Direct Claims. Each of the following secured claims are designated for direct payment in accordance with the applicable
               contractual documents (a "Direct Claim"). The Debtor represents that each secured claim listed in this subsection was not in
               default on the Petition Date and either: (1) is protected from valuation under § 506(a) and payable at a contractual interest rate
               reasonable under the circumstances; or (2) should otherwise be approved by the Court based upon the justification provided.
               Without such representations by the Debtor, this subsection may not be utilized and the claim treatment must
               instead be addressed in § 3.4. Each listed secured claim constitutes a separate class.

           Claimant             Collateral Description      Total Claim     Collateral     Contract     Monthly           Party to           Date of
                                                            Amount on       Value on       Interest     Payment            Make               Final
                                                             Petition        Petition        Rate         per             Payment           Monthly
                                                               Date           Date                      Contract                            Payment

 1.
 Liberty Ntnl Bk In           2018 Nissan Titan XD          $46,000.00 $34,675.00           0.00%       $1,352.55        Debtor
 Paris                        SV                                                                                         Co-Debtor           Exceeds
                                                                                                                         Third Party      Plan Term


          Justification:

 2.
 Texar Fcu                    2019 Jaguar XE                $25,710.00 $25,625.00           0.00%        $465.00         Debtor
                                                                                                                         Co-Debtor           Exceeds
                                                                                                                         Third Party      Plan Term


          Justification:

 3.6      Surrender of Property. [Check one]

               None. If "None" is checked, the remainder of § 3.6 need not be completed.




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              Surrender of Collateral and Related Stay Relief. The Debtor surrenders to each claimant listed below the property that
              secures that creditor's claim and requests that, upon confirmation of this plan, the automatic stay under § 362(a) be terminated as
              to the referenced collateral only and any co-debtor stay under § 1301 be terminated in all respects. The affected claimant shall
              have ninety (90) days after the Effective Date of the Plan to file a proof of claim, or an amended claim, regarding recovery of
              any deficiency balance from the Estate resulting from the disposition of the collateral. Any such allowed general unsecured claim
              will thereafter be treated in Part 5 below.


                     Claimant                                    Collateral Description                              Collateral Location

 1.
 Bankers Healthcare Group, LLC                      522 Nicole Lane, Reno, TX 75462

 2.
 Lamar CAD-Linebarger, et al                        522 Nicole Lane, Reno, TX
                                                    75462/401847
 3.
 Liberty Ntnl Bk In Paris                           522 Nicole Lane, Reno, TX 75462
 4.
 Santander Consumer USA, Inc.                       2019 Dodge Challenger
 3.7     Lien Retention.

         The holder of a lien securing payment of a claim addressed in §§ 3.1 or 3.2 of this Plan shall retain its lien until the indebtedness
         secured by such lien is totally satisfied as determined under applicable non-bankruptcy law. The holder of a lien securing payment of
         any other allowed secured claim that is governed by this Plan shall retain its lien until the earlier of: (1) the total satisfaction of the
         indebtedness secured by the lien as determined under applicable non-bankruptcy law; or (2) the entry of a discharge order in favor of
         the Debtor under § 1328(a). In each instance, the provisions of this subsection may be superseded by a subsequent order of the
         Court.


 3.8     Maintenance of Insurance and Post-Petition Taxes Upon Retained Collateral.

         For all property that secures the payment of an indebtedness and which is proposed to be retained by the Debtor under this Plan, the
         Debtor must maintain insurance coverage as required either by the applicable contractual documents governing the indebtedness or as
         may be directed by the Trustee. The Debtor must also pay all ad valorem taxes on property proposed to be retained by the Debtor
         under this Plan as they come due in the post-petition period. Such payment shall be tendered to the appropriate taxing authorities in
         accordance with applicable non-bankruptcy law on or before the last date on which such taxes may be paid without penalty.


 3.9     Lien avoidance.     [Check one]

              None. If "None" is checked, the remainder of § 3.9 need not be completed.

         The remainder of this subsection will be effective only if the "Included" box is checked in § 1.2 of this Plan.

         Further, the invocation of this subsection mandates an evidentiary hearing on the "call" docket of the Court at which
         the Debtor must demonstrate: (1) service of this Plan upon any claimant affected by this subsection in strict
         compliance with the requirements of Bankruptcy Rule 7004 for service of a summons and a complaint, including
         service upon any attorney for such claimant listed in the referenced abstract of judgment or other lien identification
         documents; and (2) an entitlement to the relief sought, including that the claims of exemption relied upon by the
         Debtor have, in fact, been sustained.

              § 522(f) Avoidance. The judicial liens or nonpossessory, non-purchase money security interests securing the claims listed below
              impair exemptions to which the Debtor would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the
              Court, a judicial lien or security interest securing a claim listed below will be avoided to the extent that it impairs such exemptions
              upon entry of the order confirming the plan. The amount of the judicial lien or security interest that is avoided will be treated as an
              unsecured claim in Part 5 to the extent allowed. The amount, if any, of the judicial lien or security interest that is not avoided will
              be paid in full as a secured claim as if set forth in § 3.4 of the Plan. See 11 U.S.C. § 522(f) and Bankruptcy Rule 4003(d).

          If more than one judicial lien or security interest is to be avoided, provide the information separately for each lien.




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        Column A: Information                          Column B: Calculation of Lien Avoidance                         Column C: Treatment of
       Regarding Judicial Lien or                                                                                       Remaining 506 Claim
           Security Interest


 Lienholder                                a. Amount of lien                                      $95,744.18      Amount of 506 Claim after
 Bankers Healthcare Group,                                                                                        avoidance (line a minus line f)
 LLC                                       b. Amount of all other liens                         $367,566.67
                                           c. Value of claimed exemptions                               $0.00
                                                                                                                  Plan Interest Rate
 Collateral
 502 Ashton Lane, Reno, TX                 d. Total of adding lines a, b, and c                 $463,310.85
 75462                                                                                                            EMP by Trustee:
                                           e. Value of debtor's interest in property            $339,150.00

                                           f. Subtract line e from line d.                      $124,160.85
         Judicial Lien                                                                                            EMP beginning Month
         Non-PMSI                          Extent of exemption impairment [check applicable box]:
                                                Line f is equal to or greater than line a.                        EMP ending Month
 Lien identification (if judicial lien,         The entire lien is avoided. [Do not complete Column C]
 attach abstract of judgment.)
                                                Line f is less than line a.                                       Projected Total Payment by
                                                A portion of the lien is avoided. [Complete Column C]             Trustee:




 3.10     Rule 3012 Valuation of Collateral.      [Check one]

               None. If "None" is checked, the remainder of § 3.10 need not be completed.


 3.11     Lien Removal Based Upon Unsecured Status.               [Check one]

               None. If "None" is checked, the remainder of § 3.11 need not be completed.


 Part 4:        Treatment of Administrative Expenses, DSO Claims and Other Priority Claims

 4.1      General

          All allowed priority claims, other than those particular domestic support obligations treated in § 4.5, will be paid in full without post-
          confirmation interest. Where applicable, the Trustee is authorized to initiate monthly payments on an interim basis based upon the
          projected amount of each priority claim listed below until such time as the allowed amount of each priority claim is established by the
          filing of a proof of claim in accordance with the Bankruptcy Rules. The amount listed in that proof of claim, or the final determination by
          the Court of any objection thereto, shall control over any projected priority claim amount listed below.


 4.2      Trustee's Fees.

          The Trustee's fees are fixed by the United States Trustee pursuant to the provisions of 28 U.S.C. § 586(e)(2) and, pursuant thereto,
          shall be promptly collected and paid from all plan payments received by the Trustee.




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 4.3     Attorney's Fees.

         The total amount of attorney's fees requested by the Debtor's attorney in this case is      $4,500.00      . The amount of
              $1,000.00        was paid to the Debtor's attorney prior to the Petition Date. The allowed balance of attorney's fees will be paid by
         the Trustee from the remaining available funds after the payment of required adequate protection payments pursuant to §§ 3.3 and 3.4
         of this Plan.

         The allowed balance of attorney's fees to be awarded to the Debtor's attorney in this case shall be determined by:

              LBR 2016(h)(1);          by submission of a formal fee application.

                 LBR 2016(h)(1): If the attorney's fee award is determined by the benchmark amounts authorized by LBR 2016(h), the total fee
                 shall be the amount designated in LBR 2016(h)(1)(A) unless a certification is filed by the Debtor's attorney regarding the
                 rendition of legal services pertaining to automatic stay litigation occurring during the Benchmark Fee Period outlined in that local
                 rule. The Trustee is authorized to make the benchmark fee calculation and to recognize the proper enhancement or reduction
                 of the benchmark amount in this case without the necessity of court order. No business case supplement to the benchmark
                 fee shall be recognized unless a business case designation is granted on or before initial confirmation of the Plan.

                 Fee Application: If the attorney's fee award is determined by the formal fee application process, such fee application shall be
                 filed no later than 30 days after the expiration of the Benchmark Fee Period outlined in LBR 2016(h)(1). If no application
                 is filed within that period, the determination of the allowed amount of attorney's fees to the Debtor's attorney shall revert to the
                 benchmark amounts authorized by LBR 2016(h)(1) without the necessity of any further motion, notice or hearing and the
                 Trustee shall adjust any distributions in this class accordingly.


 4.4     Priority Claims: Domestic Support Obligations ("DSO"). [Check one]

              None. If "None" is checked, the remainder of § 4.4 need not be completed.


 4.5     Priority Claims: DSO Assigned/Owed to Governmental Unit and Paid Less Than Full Amount. [Check one]

              None. If "None" is checked, the remainder of § 4.5 need not be completed.


 4.6     Priority Claims: Taxes and Other Priority Claims Excluding Attorney's Fees and DSO Claims. [Check one]

              None. If "None" is checked, the remainder of § 4.5 need not be completed.

              Other Priority Claims.

                         Priority Claimant                                    Projected Claim Amount                      Projected Monthly
                                                                                                                         Payment by Trustee

 1.                                                                                $11,916.64
 INTERNAL REVENUE SERVICE                                                 Texas ad valorem tax claim entitled                   Pro-Rata
                                                                          to 12% annual interest and
                                                                          disbursement priority as a secured
                                                                          claim under § 3.4 of the Plan.

 Part 5:       Treatment of Nonpriority Unsecured Claims

 5.1     Specially Classed Unsecured Claims.            [Check one]

              None. If "None" is checked, the remainder of § 5.1 need not be completed.


 5.2     General Unsecured Claims.

         Allowed nonpriority unsecured claims shall comprise a single class of creditors and will be paid:

              100% + Interest at                ;

              100% + Interest at                    with no future modifications to treatment under this subsection;

              Pro Rata Share: of all funds remaining after payment of all secured, priority, and specially classified claims.



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 5.3     Liquidation Analysis: Unsecured Claims Under Parts 4 and 5.

         If the bankruptcy estate of the Debtor was liquidated under Chapter 7 of the Bankruptcy Code, the holders of priority unsecured claims
         under Part 4 of this Plan and the holders of nonpriority unsecured claims under Part 5 of this Plan would be paid an aggregate sum of
         approximately       $157.39   . Regardless of the particular payment treatments elected under Parts 4 and 5 of this Plan, the
         aggregate amount of payments which will be paid to the holders of allowed unsecured claims under this Plan will be equivalent to or
         greater than this amount.


 Part 6:       Executory Contracts and Unexpired Leases

 6.1     General Rule - Rejection. The executory contracts and unexpired leases of the Debtor listed below are ASSUMED.
         All other executory contracts and unexpired leases of the Debtor are REJECTED.

         [Check one.]

              None. If "None" is checked, the remainder of § 6.1 need not be completed.


 Part 7:       Vesting of Property of the Estate

 7.1     Property of the estate will vest in the Debtor only upon the entry of an order for discharge pursuant to § 1328, in the absence of a
         court order to the contrary.


 Part 8:       Nonstandard Plan Provisions
              None. If "None" is checked, the rest of Part 8 need not be completed.

 Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise
 included in the Official TXEB Form or any deviation from it. Any nonstandard provision set out elsewhere in this Plan is void. Even if set forth
 below, any nonstandard provision is void unless the "Included" box is checked in § 1.4 of this Plan.

 Request To Incur Debt-Plano
 Request to incur debt
 Debtors may not incur any post-petition consumer debt, except upon written approval of the Trustee as follows:
 For purchase of a car: limit of $20,000.00 financed with monthly payment not to exceed $500.00
 For purchase of home: limit of $250,000 financed with total monthly payment including taxes and insurance not to
 exceed $2,500.00
 Debtors must be current on plan payments and provide an amended budget that includes the proposed payment and
 updated income information.
 The Trustee cannot approve any request that exceeds the current budget expenditure for the particular debt or expense.
 Debtors must file a motion to incur debt if the request does not fall within the guidelines as stated above.




 Part 9:       Miscellaneous Provisions

 9.1     Effective Date. The effective date of this Plan shall be the date upon which the order confirming this Plan becomes a final,
         nonappealable order.


 9.2     Plan Distribution Order. Unless the Court orders otherwise, disbursements by the Trustee under this Plan shall occur in the following
         order: (1) Trustee's fees under § 4.2 upon receipt; (2) adequate protection payments under §§ 3.3 and 3.4; (3) allowed attorney fees
         under § 4.3; (4) secured claims under §§ 3.2, 3.3 and 3.4 concurrently; (5) DSO priority claims under §§ 4.4 and 4.5 concurrently;
         (6) non-DSO priority claims under § 4.6; (7) specially classed unsecured claims under § 5.1; and (8) general unsecured claims under
         § 5.2.


 9.3     Litigation Proceeds. No settlement of any litigation prosecuted by the Debtor during the Plan Term shall be consummated without the
         consent of the Chapter 13 Trustee and, except as otherwise authorized by the Trustee, all funds received by the Debtor, or any
         attorney for the Debtor, shall be immediately tendered to the Chapter 13 Trustee for satisfaction of any authorized exemption claim of
         the Debtor, with the remainder of the funds dedicated as an additional component of the plan base.




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 Part 10:       Signatures

   X     /s/ J. Brian Allen                                                      Date 11/10/2020

   Signature of Attorney for Debtor(s)




   X                                                                             Date




   X                                                                             Date

   Signature(s) of Debtor(s) (required if not represented by an attorney; otherwise optional)

   By filing this document, the attorney for the Debtor or any self-represented Debtor certifies to the Court that the wording
   and order of the provisions in this Chapter 13 plan are identical to those contained in TXEB Local Form 3015-a, other than
   any nonstandard provisions included in Part 8, and that the foregoing proposed Plan contains no nonstandard provisions
   other than those included in Part 8.


 Part 11:       Certificate of Service to Matrix as Currently Constituted by the Court




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                                         EASTERN DISTRICT OF TEXAS
                                             SHERMAN DIVISION
IN RE: Jason Christopher Warren                                             CASE NO   20-41957

                    Debtor(s)                                               CHAPTER   13

                                  EXHIBIT "A" - VARIABLE PLAN PAYMENTS

                    PROPOSED PLAN OF REPAYMENT (VARIABLE PAYMENTS INTO THE PLAN)

 Month / Due Date      Payment                Month / Due Date   Payment                   Month / Due Date   Payment
  1    10/16/2020       $760.00                29   02/16/2023    $835.00                   57   06/16/2025    $835.00
  2    11/16/2020       $760.00                30   03/16/2023    $835.00                   58   07/16/2025    $835.00
  3    12/16/2020       $835.00                31   04/16/2023    $835.00                   59   08/16/2025    $835.00
  4    01/16/2021       $835.00                32   05/16/2023    $835.00                   60   09/16/2025    $835.00
  5    02/16/2021       $835.00                33   06/16/2023    $835.00
  6    03/16/2021       $835.00                34   07/16/2023    $835.00
  7    04/16/2021       $835.00                35   08/16/2023    $835.00
  8    05/16/2021       $835.00                36   09/16/2023    $835.00
  9    06/16/2021       $835.00                37   10/16/2023    $835.00
  10   07/16/2021       $835.00                38   11/16/2023    $835.00
  11   08/16/2021       $835.00                39   12/16/2023    $835.00
  12   09/16/2021       $835.00                40   01/16/2024    $835.00
  13   10/16/2021       $835.00                41   02/16/2024    $835.00
  14   11/16/2021       $835.00                42   03/16/2024    $835.00
  15   12/16/2021       $835.00                43   04/16/2024    $835.00
  16   01/16/2022       $835.00                44   05/16/2024    $835.00
  17   02/16/2022       $835.00                45   06/16/2024    $835.00
  18   03/16/2022       $835.00                46   07/16/2024    $835.00
  19   04/16/2022       $835.00                47   08/16/2024    $835.00
  20   05/16/2022       $835.00                48   09/16/2024    $835.00
  21   06/16/2022       $835.00                49   10/16/2024    $835.00
  22   07/16/2022       $835.00                50   11/16/2024    $835.00
  23   08/16/2022       $835.00                51   12/16/2024    $835.00
  24   09/16/2022       $835.00                52   01/16/2025    $835.00
  25   10/16/2022       $835.00                53   02/16/2025    $835.00
  26   11/16/2022       $835.00                54   03/16/2025    $835.00
  27   12/16/2022       $835.00                55   04/16/2025    $835.00
  28   01/16/2023       $835.00                56   05/16/2025    $835.00
